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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                   :
In re:                                             :   Chapter 11
                                                   :
ENERGY FUTURE HOLDINGS                             :   Case No. 14-10979 (CSS)
CORP., et al., 1                                   :   (Jointly Administered)
                                                   :
         Debtors.                                  :   Hearing Date: January 13, 2015 at 9:30 a.m. (ET)
                                                   :   Objections Due: December 30, 2014 by 4:00 p.m.(ET)
                                                   :

            NOTICE OF APPLICATION FOR AN ORDER APPROVING THE
          EMPLOYMENT OF CRAVATH, SWAINE & MOORE LLP AS COUNSEL
           TO ENERGY FUTURE INTERMEDIATE HOLDING COMPANY LLC
          UNDER SECTIONS 327(e) AND 1107(b) OF THE BANKRUPTCY CODE,
               EFFECTIVE NUNC PRO TUNC TO NOVEMBER 16, 2014

TO:      The parties on the attached Service List:

         PLEASE TAKE NOTICE that on December 16, 2014, Debtor Energy Future

Intermediate Holding Company LLC (“EFIH”), filed its Application for an Order Approving the

Employment of Cravath, Swaine & Moore LLP as Counsel to Energy Future Intermediate

Holding Company LLC Under Sections 327(e) and 1107(b) of the Bankruptcy Code, Effective

Nunc Pro Tunc to November 16, 2014 (the “Application”).

         PLEASE TAKE FURTHER NOTICE that a hearing to consider approval of the

Application is scheduled for January 13, 2015 at 9:30 a.m. (ET) (the “Hearing”) at the United

States Bankruptcy Court for the District of Delaware, 824 Market Street, 5th Floor, Courtroom

#6, Wilmington, Delaware 19801 (the “Bankruptcy Court”) before The Honorable Christopher S.

Sontchi, United States Bankruptcy Judge for the District of Delaware.

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  The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, for which joint administration has been granted on an interim basis, a complete list of the debtors
and the last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the debtors’ claims and noticing agent at
http://www.efhcaseinfo.com.


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       PLEASE TAKE FURTHER NOTICE that responses and objections, if any, to the

Application may be in writing filed and served upon the undersigned counsel on or before

December 30, 2014 at 4:00 p.m.

       PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS TO THE

APPLICATION ARE TIMELY FILED, SERVED AND RECEIVED IN ACCORDANCE

WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF REQUESTED IN

THE APPLICATION WITHOUT FURTHER NOTICE OR HEARING.


Dated: December 16, 2014                       Respectfully submitted,

                                               /s/ Joseph H. Huston, Jr.
                                               Joseph H. Huston, Jr. (No. 4035)
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                                                      and

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                                               Attorneys for Debtor Energy Future
                                               Intermediate Holding Company LLC




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